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 4
 5   Attorney for Defendant
     PETRA FUNTILA
 6
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,          )             No. 2:03-cr-00371-MCE
                                        )
13                    Plaintiff,        )
           v.                           )             STIPULATION AND ORDER
14                                      )
     PETRA FUNTILA,                     )
15                                      )
                      Defendants.       )
16   __________________________________ )
17          Defendant Petra Funtila, by and through counsel Krista Hart, along with the plaintiff
18   United States (government), by and through counsel Assistant U.S. Attorney William Wong,
19   hereby stipulate and agree that the status conference currently set for June 12, 2008, be reset to
20   July 3, 2008, at 9:00 a.m.
21          It is further stipulated and agreed between the parties that the period of time from June 12,
22   2008, up to and including July 3, 2008, should be excluded in computing the time within which
23   the trial of the above criminal prosecution must commence for purposes of the Speedy Trial Act.
24   The parties stipulate and agree that this is an appropriate exclusion of time within the meaning of
25   Title 18, United States Code, sections 3161(h)(8)(B)(iv) (Local Code T4). The parties have been
26   engaged in ongoing plea negotiations. It appears we are very close to a resolution. However, Ms.
27   Funtila is being housed in Nevada City, almost an hour from Sacramento.
28   ///
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 1   Counsel for Ms. Funtila has been in a jury trial since May 21, 2008, and has not had time to drive
 2   up to Nevada City to confer with Ms. Funtila. The trial is anticipated to end this week and we
 3   should be able to resolve the matter on July 3, 2008. Therefore, this is an appropriate exclusion of
 4   time within the meaning of Title 18, United States Code, sections 3161(h)(8)(B)(iv) (Local Code
 5   T4).
 6
     June 13, 2008                                    /s/ Krista Hart
 7                                                    Attorney for Petra Funtila
 8
 9   June 13, 2008                                    McGREGOR SCOTT
                                                      United States Attorney
10
11
                                                       /s/ William Wong
12                                                    Assistant U.S. Attorney
                                                      (Signed by Krista Hart per e-mail)
13
14
                                                 ORDER
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16
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
17
18    Dated:     June 13, 2008

19                                                 ________________________________
                                                   MORRISON C. ENGLAND, JR.
20                                                 UNITED STATES DISTRICT JUDGE
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